Case 2:10-cr-00136-JES-SPC Document 148 Filed 09/12/11 Page 1 of 1 PageID 258




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

UNITED STATES OF AMERICA

-vs-                                                          Case No.: 2:10-cr-136-FtM-29SPC

JOSEPH STELLA
_______________________________________


                                            ORDER

       This matter comes before the Court on the Motion to Modify Conditions of Pretrial

Supervision (Doc. #147) filed on September 8, 2011. The Defendant moves the Court to modify

Defendant’s bond to remove home confinement as a condition of release. As grounds, Counsel

indicates the Defendant is currently hospitalized and having problems with the telephone at his

home. The Government and pretrial services do not have an objection to the relief requested. The

Court, having considered the motion, finds good cause and will grant the motion as outlined below.

       Accordingly, it is now

       ORDERED:

       (1)     The Motion to Modify Conditions of Pretrial Supervision (Doc. #147) is GRANTED.

The home confinement condition is hereby removed as a condition of release. All other terms and

conditions remain unchanged.

       DONE AND ORDERED at Fort Myers, Florida, this 12th                day of September, 2011.




Copies: All Parties of Record
